                                                     Case 4:21-cr-06028-MKD                                    ECF No. 71         filed 10/18/21   PageID.626 Page 1 of 3




                                                    Roger J. Peve
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                                                                                         UNITED STATES DISTRICT COURT FOR THE
                                    1                                                      EASTERN DISTRICT OF WASHINGTO
                                                                                         HONORABLE ROSANNA MALOUF PETERSO
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                                    1
                                    1                UNITED STATES OF AMERICA                                                         No. CR-21-6028-RMP-
                                                                                                                                      MOTION TO CONTINUE and
                                    1                                                    Plaintiff                                    EXPEDIT
                                    1                           vs
                                    1                OSCAR CHAVEZ-GARCIA                                                              PRETRIAL CONFERENCE
                                    1                                                    Defendant                                    OCT 19, 2021 9:00 A

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                                    2                      TO: Vanessa Waldref, United States Attorney E.D.W
                                    2                                               Stephanie Van Marter, Assistant United States Attorney E.D.W
                                    2                      I                        Motion
                                    2                      Defendant, Oscar Chavez-Garcia, moves the Court to continue the
                                    2               trial date currently scheduled for November 8, 2021 and pretrial date of
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                                    October 19, 2021. An extension of time of at least ninety days is requested
                                    based on the memorandum contained herein
                                             II    Memorandum
                                             Mr. Chavez-Garcia was arrested August 3, 2021. A Superseding
                                    Indictment was led charging Mr. Chavez-Garcia in Count 1, a violation of
                                    21 USC §841(a)(1),(b)(1)(A)(vi)(viii), 846 Conspiracy to Distribute 50
                                    Grams or More of Actual (Pure) Methamphetamine and 400 Grams or More
                                    of Fentanyl. Mr. Chavez-Garcia is detained in federal custody.
                                             Additional time is needed to complete investigation on the case
                               1    including analysis of discovery already received as well as review of
                               1    discovery not yet received. Additional time is needed to properly investigate
                               1    the allegations, interview fact witnesses, and consult with expert witnesses.
                               1    Undersigned counsel entered a notice of appearance on August 4, 2021
                               1             Discussions with AUSA Van Marter indicate that additional
                               1    voluminous discovery is anticipated to be provided soon including records
                               1    from several cell phone which may need additional translation
                               1             The interests of justice are served by the continuance request. As
                               1    additional discovery analysis is necessary in order to complete review of
                               1    the case, there is good cause to grant the continuance. Complete review of
                               2    the discovery is necessary for effective assistance of counsel in this matter.
                               2    The ends of justice served by granting the continuance outweigh thefts
                               2    interest of the public and the defendant in a speedy trial. 18 U.S.C.
                               2    §3161(h)(7)(A). It is also requested that the motion be expedited
                               2             For the reasons contained herein, it is requested that both trial and
                               25 pretrial be continued in this matter. AUSA Van Marter has been contacted




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                                        and does object to the continuance request. Mr. Chavez-Garcia has been
                                        advised of his right to a speedy trial and will provide the appropriate waiver.


                                        Respectfully Submitted this 18th day of October, 2021
                                                                                 s/ Roger J. Peven
                                                                                 WA 625
                                                                                 Attorneys for Chavez-Garci
                                                                                 Law Of ces of Roger J. Peve
                                                                                 1408 W. Broadwa
                                                                                 Spokane, Washington 9920
                                                                                 Telephone: (509) 323-900
                                                                                 Email: rjpeven@gmail.com
                                                                    CERTIFICATE OF SERVIC
                               1
                                              I hereby certify that on October 18, 2021, I electronically led the
                               1
                                        foregoing with the Clerk of the Court using the CM/ECF System which will
                               1
                                        send noti cation of such ling to the following: Stephanie Van Marter,
                               1
                                        Assistant United States Attorney
                               1
                               1                                                 s/ Roger J. Peve
                                                                                 WA 625
                               1                                                 Attorneys for Chavez-Garci
                                                                                 Law Of ces of Roger J. Peve
                               1                                                 1408 W. Broadwa
                                                                                 Spokane, Washington 9920
                               1                                                 Telephone: (509) 323-900
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